
Opinion for the Court filed by Senior Circuit Judge RANDOLPH.
Opinion concurring in the judgment filed by Circuit Judge ROGERS.
RANDOLPH, Senior Circuit Judge:
Seventeen Chinese citizens currently held at Guantanamo Bay Naval Base, Cuba, brought petitions for writs of habeas corpus. Each petitioner is an ethnic Uighur, a Turkic Muslim minority whose members reside in the Xinjiang province of far-west China. The question is whether, as the district court ruled, petitioners are entitled to an order requiring the government to bring them to the United States and release them here.
Sometime before September 11, 2001, petitioners left China and traveled to the *377Tora Bora mountains in Afghanistan, where they settled in a camp with other Uighurs. Parhat v. Gates, 532 F.3d 834, 837 (D.C.Cir.2008). Petitioners fled to Pakistan when U.S. aerial strikes destroyed the Tora Bora camp. Id. Eventually they were turned over to the U.S. military, transferred to Guantanamo Bay and detained as “enemy combatants.”1
Evidence produced at hearings before Combatant Status Review Tribunals in Guantanamo indicated that at least some petitioners intended to fight the Chinese government, and that they had received firearms training at the camp for this purpose. See Parhat, 532 F.3d at 838, 843. The Tribunals determined that the petitioners could be detained as enemy combatants because the camp was run by the Eastern Turkistan Islamic Movement, a Uighur independence group the military believes to be associated with al Qaida or the Taliban, see id. at 844, and which the State Department designated as a terrorist organization three years after the petitioners’ capture, see 69 Fed.Reg. 23,555-01 (April 29, 2004).
In the Parhat case, the court ruled that the government had not presented sufficient evidence that the Eastern Turkistan Islamic Movement was associated with al Qaida or the Taliban, or had engaged in hostilities against the United States or its coalition partners. Parhat, 532 F.3d at 850. Parhat therefore could not be held as an enemy combatant. The government saw no material differences in its evidence against the other Uighurs, and therefore decided that none of the petitioners should be detained as enemy combatants.
Releasing petitioners to their country of origin poses a problem. Petitioners fear that if they are returned to China they will face arrest, torture or execution. United States policy is not to transfer individuals to countries where they will be subject to mistreatment. Petitioners have not sought to comply with the immigration laws governing an alien’s entry into the United States. Diplomatic efforts to locate an appropriate third country in which to resettle them are continuing. In the meantime, petitioners are held under the least restrictive conditions possible in the Guantanamo military base.
As relief in their habeas cases, petitioners moved for an order compelling their release into the United States. Although the district court assumed that the government initially detained petitioners in compliance with the law, In re Guantanamo Bay Detainee Litig., 581 F.Supp.2d 33, 37 (D.D.C. 2008) (“Mem.Op.”), the court thought the government no longer had any legal authority to hold them, id. at 38. As to the appropriate relief, the court acknowledged that historically the authority to admit aliens into this country rested exclusively with the political branches. Id. at 39-40. Nevertheless, the court held that the “exceptional” circumstances of this case and the need to safeguard “an individual’s liberty from unbridled executive fiat,” justified granting petitioners’ motion.2 Id. at 40, 42.
*378Our analysis begins with several firmly established propositions set forth in Saavedra Bruno v. Albright, 197 F.3d 1153, 1158 (D.C.Cir.1999), from which we borrow. There is first the ancient principle that a nation-state has the inherent right to exclude or admit foreigners and to prescribe applicable terms and conditions for their exclusion or admission.3 This principle, dating from Roman times,4 received recognition during the Constitutional Convention5 and has continued to be an important postulate in the foreign relations of this country and other members of the international community.6
For more than a century, the Supreme Court has recognized the power to exclude aliens as “ ‘inherent in sovereignty, necessary for maintaining normal international relations and defending the country against foreign encroachments and dangers — a power to be exercised exclusively by the political branches of government’ ”7 and not “granted away or restrained on behalf of any one.” The Chinese Exclusion Case, 130 U.S. 581, 609, 9 S.Ct. 623, 32 L.Ed. 1068 (1889). Ever since the decision in the Chinese Exclusion Case, the Court has, without exception, sustained the exclusive power of the political branches to decide which aliens may, and which aliens may not, enter the United States, and on what terms. See, e.g., Ekiu, 142 U.S. at 659, 12 S.Ct. 336; Fong Yue Ting v. United States, 149 U.S. 698, 713, 13 S.Ct. 1016, 37 L.Ed. 905 (1893); Lem Moon Sing v. United States, 158 U.S. 538, 543, 547, 15 S.Ct. 967, 39 L.Ed. 1082 (1895); Wong Wing v. United States, 163 U.S. 228, 237, 16 S.Ct. 977, 41 L.Ed. 140 (1896); Fok Young Yo v. United States, 185 U.S. 296, 302, 22 S.Ct. 686, 46 L.Ed. 917 (1902); Tiaco v. Forbes, 228 U.S. 549, 556-57, 33 S.Ct. 585, 57 L.Ed. 960 (1913); Hines, 312 *379U.S. at 62-64, 61 S.Ct. 399; United States ex rel. Knauff v. Shaughnessy, 338 U.S. 537, 542, 70 S.Ct. 309, 94 L.Ed. 317 (1950); Galvan v. Press, 347 U.S. 522, 530, 74 S.Ct. 737, 98 L.Ed. 911 (1954); Graham v. Richardson, 403 U.S. 365, 377, 91 S.Ct. 1848, 29 L.Ed.2d 534 (1971); Kleindienst, 408 U.S. at 765-66, 92 S.Ct. 2576; Mathews v. Diaz, 426 U.S. 67, 81, 96 S.Ct. 1883, 48 L.Ed.2d 478 (1976); Fiallo, 430 U.S. at 792, 97 S.Ct. 1473; Reno v. Flores, 507 U.S. 292, 305-06, 113 S.Ct. 1439, 123 L.Ed.2d 1 (1993); Demore v. Kim, 538 U.S. 510, 521-22, 123 S.Ct. 1708, 155 L.Ed.2d 724 (2003).
With respect to the exclusive power of the political branches in this area, there is, as the Supreme Court stated in Galvan, “not merely ‘a page of history,’ ... but a whole volume. Policies pertaining to the entry of aliens and their right to remain here are peculiarly concerned with the political conduct of government.” 347 U.S. at 531, 74 S.Ct. 737 (quoting N.Y. Trust Co. v. Eisner, 256 U.S. 345, 349, 41 S.Ct. 506, 65 L.Ed. 963 (1921)). Justice Frankfurter summarized the law as it continues to this day: “Ever since national States have come into being, the right of the people to enjoy the hospitality of a State of which they are not citizens has been a matter of political determination by each State” — a matter “wholly outside the concern and competence of the Judiciary.” Harisiades, 342 U.S. at 596, 72 S.Ct. 512 (concurring opinion).
As a result, it “is not within the province of any court, unless expressly authorized by law, to review the determination of the political branch of the Government to exclude a given alien.” Knauff, 338 U.S. at 543, 70 S.Ct. 309. With respect to these seventeen petitioners, the Executive Branch has determined not to allow them to enter the United States.8 The critical question is: what law “expressly authorized” the district court to set aside the decision of the Executive Branch and to order these aliens brought to the United States and released in Washington, D.C.?
The district court cited no statute or treaty authorizing its order, and we are aware of none. As to the Constitution, the district court spoke only generally. The court said there were “constitutional limits,” that there was some “constitutional imperative,” that it needed to protect “the fundamental right of liberty.” These statements suggest that the court may have had the Fifth Amendment’s due process clause in mind. See Troxel v. Granville, 530 U.S. 57, 65, 120 S.Ct. 2054, 147 L.Ed.2d 49 (2000). But the due process clause cannot support the court’s order of release. Decisions of the Supreme Court and of this court — decisions the district court did not acknowledge — hold that the due process clause does not apply to aliens without property or presence in the sovereign territory of the United States.9 See Zadvydas v. Davis, 533 U.S. 678, 693, 121 S.Ct. 2491, 150 L.Ed.2d 653 (2001); United States v. Verdugo-Urquidez, 494 U.S. 259, 269, 274-75, 110 S.Ct. 1056, 108 L.Ed.2d 222 (1990); Johnson v. Eisentrager, 339 U.S. 763, 783-84, 70 S.Ct. 936, 94 L.Ed. *3801255 (1950); Jifry v. FAA, 370 F.3d 1174, 1182 (D.C.Cir.2004); 32 County Sovereignty Comm. v. Dep’t of State, 292 F.3d 797, 799 (D.C.Cir.2002); Harbury v. Deutch, 233 F.3d 596, 603-04 (D.C.Cir.2000), rev’d on other grounds sub nom. Christopher v. Harbury, 536 U.S. 403, 122 S.Ct. 2179, 153 L.Ed.2d 413 (2002); People’s Mojahedin Org. of Iran v. U.S. Dep’t of State, 182 F.3d 17, 22 (D.C.Cir.1999); Pauling v. McElroy, 278 F.2d 252, 254 n. 3 (D.C.Cir.1960) (per curiam). The district court, no less than a panel of this court, must follow those decisions. See LaShawn A. v. Barry, 87 F.3d 1389, 1395 (D.C.Cir.1996) (en banc).
The district court also sought to support its order by invoking the idea embodied in the maxim ubi jus, ibi remedium — where there is a right, there is a remedy. See Towns of Concord, Norwood, &amp; Wellesley, Mass. v. FERC, 955 F.2d 67, 73 (D.C.Cir.1992).10 We do not believe the maxim reflects federal statutory or constitutional law. See id. Not every violation of a right yields a remedy, even when the right is constitutional. See Wilkie v. Robbins, 551 U.S. 537, 127 S.Ct. 2588, 2597-98, 168 L.Ed.2d 389 (2007). Application of the doctrine of sovereign immunity to defeat a remedy is one common example. See Alden v. Maine, 527 U.S. 706, 754, 119 S.Ct. 2240, 144 L.Ed.2d 636 (1999). Another example, closer to this case,11 is application of the political question doctrine. See Webster v. Doe, 486 U.S. 592, 612-13, 108 S.Ct. 2047, 100 L.Ed.2d 632 (1988) (Sealia, J., dissenting). More than that, the right — remedy dichotomy is not so clear-cut. As Justice Holmes warned, “[s]uch words as ‘right’ are a constant solicitation to fallacy.” Jackman v. Rosenbaum Co., 260 U.S. 22, 31, 43 S.Ct. 9, 67 L.Ed. 107 (1922). Ubi jus, ibi remedium cannot tell us whether petitioners have a right to have a court order their release into the United States. Whatever the force of this maxim, it cannot overcome established law that an “alien who seeks admission to this country may not do so under any claim of right. Admission of aliens to the United States is a privilege granted by the sovereign United States Government. Such a privilege is granted to an alien only upon such terms as the United States shall prescribe.” Knauff, 338 U.S. at 542, 70 S.Ct. 309.
Much -of what we have just written served as the foundation for the Supreme Court’s opinion in Shaughnessy v. United States ex rel. Mezei, 345 U.S. 206, 73 S.Ct. 625, 97 L.Ed. 956 (1953), a case analogous to this one in several ways. The government held an alien at the border (Ellis Island, New York). He had been denied entry into the United States under the immigration laws. But no other country was willing to receive him. The Court ruled that the alien, who petitioned for a writ of habeas corpus, had not been deprived of any constitutional rights. Id. at 215, 73 S.Ct. 625. In so ruling the Court necessarily rejected the proposition that because no other country would take Mezei, the prospect of indefinite detention entitled him to a court order requiring the Attorney General to release him into the United States. As the Supreme Court saw it, the Judiciary could not question the Attorney General’s judgment. Id. at 212, 73 S.Ct. 625.
Neither Zadvydas, 533 U.S. 678, 121 S.Ct. 2491, 150 L.Ed.2d 653, nor Clark v. Martinez, 543 U.S. 371, 125 S.Ct. 716, 160 *381L.Ed.2d 734 (2005), are to the contrary. Petitioners are incoiTect in viewing these cases as holding that the constitutional “liberty interests of concededly illegal aliens trumps [sic] statutory detention power pending exclusion once that detention becomes indefinite.” Pet’rs’ Br. 29. Both cases rested on the Supreme Court’s interpretation not of the Constitution, but of a provision in the immigration laws — a provision, the Court acknowledged, Congress had the prerogative of altering.12 See Clark, 543 U.S. at 386, 125 S.Ct. 716. It is true that Zadvydas spoke of an alien’s due process rights, but the Court was careful to restrict its statement to aliens who had already entered the United States. 533 U.S. at 693, 121 S.Ct. 2491. It was on that ground that the Court distinguished Mezei. Id. The distinction is one that “runs throughout immigration law.” Id. The Court stated: “It is well established that certain constitutional protections available to persons inside the United States are unavailable to aliens outside of our geographic borders.” Id. (citing Verdugo-Urquidez, 494 U.S. at 269, 110 S.Ct. 1056; Eisentrager, 339 U.S. at 784, 70 S.Ct. 936).
And so we ask again: what law authorized the district court to order the government to bring petitioners to the United States and release them here? It cannot be that because the court had habeas jurisdiction, see Boumediene v. Bush, — U.S. —, 128 S.Ct. 2229, 171 L.Ed.2d 41 (2008), it could fashion the sort of remedy petitioners desired. The courts in Knauff and in Mezei also had habeas jurisdiction, yet in both cases the Supreme Court held that the decision whether to allow an alien to enter the country was for the political departments, not the Judiciary. Petitioners and the amici supporting them invoke the tradition of the Great Writ as a protection of liberty. As part of that tradition, they say, a court with habeas jurisdiction has always had the power to order the prisoner’s release if he was being held unlawfully. But as in Munaf v. Geren, — U.S. —, 128 S.Ct. 2207, 2221, 171 L.Ed.2d 1 (2008), petitioners are not seeking “simple release.” Far from it. They asked for, and received, a court order compelling the Executive to release them into the United States outside the framework of the immigration laws. Whatever may be the content of common law habeas corpus, we are certain that no habeas court since the time of Edward I ever ordered such an extraordinary remedy.13
An undercurrent of petitioners’ arguments is that they deserve to be released into this country after all they have endured at hands of the United States. But such sentiments, however high-minded, do not represent a legal basis for upsetting settled law and overriding the prerogatives *382of the political branches. We do not know whether all petitioners or any of them would qualify for entry or admission under the immigration laws.14 We do know that there is insufficient evidence to classify them as enemy combatants — enemies, that is, of the United States. But that hardly qualifies petitioners for admission. Nor does their detention at Guantanamo for many years entitle them to enter the United States. Whatever the scope of habeas corpus, the writ has never been compensatory in nature. See Heck v. Humphrey, 512 U.S. 477, 481, 114 S.Ct. 2364, 129 L.Ed.2d 383 (1994); Preiser v. Rodriguez, 411 U.S. 475, 493, 93 S.Ct. 1827, 36 L.Ed.2d 439 (1973). The government has represented that it is continuing diplomatic attempts to find an appropriate country willing to admit petitioners, and we have no reason to doubt that it is doing so. Nor do we have the power to require anything more.
* * *
We have the following response to Judge Rogers’s separate opinion.
1. Judge Rogers: “The power to grant the writ means the power to order release.” Sep. Op. at 1037.
No matter how often or in what form Judge Rogers repeats this undisputed proposition — and repeat it she does — it will not move us any closer to resolving this case. The question here is not whether petitioners should be released, but where. That question was not presented in Boumediene and the Court never addressed it. As we wrote earlier, supra at 1028, never in the history of habeas corpus has any court thought it had the power to order an alien held overseas brought into the sovereign territory of a nation and released into the general population. As we have also said, in the United States, who can come in and on what terms is the exclusive province of the political branches. In response, Judge Rogers has nothing to say.
2. Judge Rogers: “[T]he district court erred by ordering release into the country without first ascertaining whether the immigration laws provided a valid basis for detention as the Executive alternatively suggested.” Sep. Op. at 1034.
This statement, and others like it throughout the separate opinion, is confused and confusing. First of all, the government has never asserted, here or in the district court, that it is holding petitioners pursuant to the immigration laws. None of the petitioners has violated any of our immigration laws. How could they? To presume otherwise — as Judge Rogers does *383throughout her separate opinion, e.g., id. at 1032,1034,1038 — is strange enough.
Stranger still, Judge Rogers charges the district court with acting “prematurely” in ordering petitioners’ release into the United States. Sep. Op. at 1032, 1038. How so? As she sees it, the district court should have first determined whether, under the immigration laws, petitioners were eligible to enter the country or were ex-cludable. But no one — not the government, not petitioners, not the amici — no one suggested that the court should, or could, make any such determination.
What then is Judge Rogers talking about when she insists on evaluating petitioners’ eligibility for admission under the immigration laws? None of the petitioners has even applied for admission. Perhaps she thinks a court should decide which, if any, of the petitioners would have been admitted if they had applied. But deciding that at this stage is impossible. A brief survey of immigration law shows why.
Eligibility turns in part on what status the alien is seeking. The immigration laws presume that those applying for entry seek permanent resident status. Such persons must first obtain an immigrant visa from a consular officer. 8 U.S.C. § 1101(a)(16). But the consular officer can only act after a petition is filed with the Secretary of Homeland Security, showing the immigrant status for which the alien qualifies. Id. §§ 1153(f), 1154. The consular officer then has the exclusive authority to make the final decision about the issuance of any such immigrant visa. Id. §§ 1104(a), 1201(a)(1)(A). That decision is not judicially reviewable. Saavedra Bruno, 197 F.3d at 1158.
Worldwide limits on immigration are set out in 8 U.S.C. § 1151. Additionally, there are limitations on the number of visas that can be issued to immigrants from any one particular country. Id. § 1152. Immigrants are divided into three categories: family-sponsored immigrants, id. § 1153(a); employment-based immigrants, id. § 1153(b); and diversity immigrants, id. § 1153(c). For employment-based immigrants, first preference is given to “priority workers,” which include aliens with extraordinary ability in sciences, arts, education, business, or athletics, id. § 1153(b)(1)(A); “outstanding professors and researchers,” id. § 1153(b)(1)(B); and “certain multinational executives and managers,” id. § 1153(b)(1)(C). There are lower preference categories unnecessary to set forth.
Suppose the eligibility of any of the petitioners was determined on the basis that they were seeking only temporary admission. Here again, to be admitted as a nonimmigrant in any of the categories set forth in the margin,15 the alien must apply for a visa. 8 U.S.C. § 1201(a)(1)(B). Different classes have different requirements for what the alien must do to obtain a visa, but all require that the alien submit some form.
Suppose the petitioners’ eligibility for admission turned on whether they could be considered refugees or asylum seekers. An alien seeking refugee or asylum status (refugees apply from abroad; asylum applicants apply when already here) must *384qualify as a “refugee” as defined in 8 U.S.C. § 1101(a)(42). Whether they could be admitted under this heading depends on numerical limitations established by the President, and on the discretion of the Attorney General or the Secretary of Homeland Security. To qualify as a refugee, an alien must (1) not be firmly resettled in a foreign country, (2) be of “special humanitarian concern” to the United States, and (3) be admissible as an immigrant under the immigration laws. Id. § 1157(c)(1). Although the Attorney General and the Secretary are given discretion to waive many of the grounds of inadmissibility for a refugee applicant, the statute specifically prohibits waiver of the “terrorist activity” ground. Id. § 1157(c)(3); see also supra at 1029 n. 14.
The parole remedy, 8 U.S.C. § 1182(d)(5)(A), not only is granted in the exclusive discretion of the Secretary of Homeland Security, but also is specifically limited to “any alien applying for admission.” The section also provides that no alien who would more properly be considered a refugee should be paroled unless the Secretary specifically determines that “compelling reasons in the public interest” argue in favor of the parole remedy.
There are many more complications, but the bottom line is clear. Aliens are not eligible for admission into the United States unless they have applied for admission. Numerical limits may render them ineligible, as may many other considerations. The Secretary has wide discretion with respect to several categories of applicants and the decisions of consular officers on visa applications are not subject to judicial review. And so we find it impossible to understand what Judge Rogers is thinking when she insists, for instance, that “the district court erred by ordering release into the country without first ascertaining whether the immigration laws provided a valid basis for detention” of someone who (a) has never entered or attempted to enter the country, and (b) has never applied for admission under the immigration laws.
3. Judge Rogers: “[T]he majority has recast the traditional inquiry of a habeas court from whether the Executive has shown that the detention of the petitioners is lawful to whether the petitioners can show that the habeas court is ‘expressly authorized’ to order aliens brought into the United States.” Sep. Op. at 1036.
Judge Rogers fails to mention that the “expressly authorized” quotation in our opinion is taken from a Supreme Court opinion in a habeas case. We repeat with some additional emphasis: it “is not within the province of any court, unless expressly authorized by law, to review the determination of the political branch of the Government to exclude a given alien.” Knaujf, 338 U.S. at 543, 70 S.Ct. 309. When Judge Rogers finally confronts Knaujf, how does she deal with the Supreme Court’s opinion? She calls it an “outlier,” as if her label could erase the case from the United States Reports. We know and she knows that the lower federal courts may not disregard a Supreme Court precedent even if they think that later cases have weakened its force. See Rodriguez de Quijas v. Shearson/Am. Express, Inc., 490 U.S. 477, 484, 109 S.Ct. 1917, 104 L.Ed.2d 526 (1989). With respect to Knaujf, later cases have reinforced, not lessened, its precedential value. See, e.g., Landon v. Plasencia, 459 U.S. 21, 32, 34, 103 S.Ct. 321, 74 L.Ed.2d 21 (1982); Mezei, 345 U.S. at 212, 73 S.Ct. 625.
4. Judge Rogers: “[T]he majority has mischaracterized relevant precedent.” Sep. Op. at 1037.
Judge Rogers is referring to our discussion of the Supreme Court decisions in Clark and Zadvydas. We made two points about the cases. The first was that both rested on statutory provisions that are not *385involved here. Judge Rogers acknowledges the correctness of our view. Our second point was that as far as a court’s releasing an alien into the country temporarily pursuant to statutory authority, there was a clear distinction between aliens within the United States and those “outside our geographic borders.” Zadvydas, 533 U.S. at 693, 121 S.Ct. 2491. How does Judge Rogers deal with this distinction? She claims that Boumediene “rejected this territorial rationale as to Guantanamo.” Sep. Op. at 1038. But as the Court recognized, it had never extended any constitutional rights to aliens detained outside the United States; Bowmediene therefore specifically limited its holding to the Suspension Clause. 128 S.Ct. at 2262.
* * *
The judgment of the district court is reversed and the cases are remanded for further proceedings consistent with this opinion.

So ordered.


. An "enemy combatant" is "an individual who was part of or supporting Taliban or al Qaida forces, or associated forces that are engaged in hostilities against the United States or its coalition partners. This includes any person who has committed a belligerent act or has directly supported hostilities in aid of enemy armed forces." Parhat, 532 F.3d at 838 (quoting Deputy Secretary, U.S. Dep’t of Defense, Order Establishing Combatant Status Review Tribunal at 1 (July 7, 2004); Secretary, U.S. Navy, Implementation of Combatant Status Review Tribunal Procedures at E-l § B (July 29, 2004)).


. The district court granted the motion on October 8, 2008, and set a hearing date one week later to determine what conditions, if any, it would impose on petitioners, in re Guantanamo Bay Detainee Litig., 05-1509, *378Order at 2 (D.D.C. Oct. 8, 2008) (''Order”). The same day, the government moved for, and this court granted, an emergency stay of judgment. This court later granted a full stay of judgment pending appeal and ordered expedited briefing of the government's appeal.


. See, e.g., Ekiu v. United States, 142 U.S. 651, 659, 12 S.Ct. 336, 35 L.Ed. 1146 (1892); Harisiades v. Shaughnessy, 342 U.S. 580, 596, 72 S.Ct. 512, 96 L.Ed. 586 (1952) (Frankfurter, J., concurring); Clement Lincoln Bouvé, Exclusion and Expulsion of Aliens 4 &amp; n. 3 (1912), and authorities there cited; II Emmerich de Vattel, Le Droit Des Gens §§ 94, 100 (1758).


. Edwin M. Borchard, The Diplomatic Protection of Citizens Abroad 33, 44-48 (1915).


. See 3 The Papers of James Madison 1277 (J.C.A. Stagg et ah eds., 1996), in which Madison reports Gouverneur Morris' observation during the debates that "every Society from a great nation down to a club ha[s] the right of declaring the conditions on which new members should be admitted.” Article I, Section 9, Clause 1, of the Constitution itself is an implicit recognition of Congress' authority to regulate immigration. In addition, Article III of the Jay Treaty of 1794, 8 Stat. 116, 117, provided dial British and American subjects could freely cross the Canadian border. See Karnuth v. United States, 279 U.S. 231, 235-36, 49 S.Ct. 274, 73 L.Ed. 677 (1929). As to the Colonial understanding of the sovereign’s power to control the admission of aliens, see Thomas Jefferson, Notes on the State of Virginia 83-85 (William Peden ed.1955).


. See Hines v. Davidowitz, 312 U.S. 52, 62-65, 61 S.Ct. 399, 85 L.Ed. 581 (1941); Convention Between the United States of America and other American Republics regarding the status of aliens art. I, 46 Stat. 2753 (1928); Constitution of the Intergovernmental Committee for European Migration pmbl., 6 United States Treaties and Other International Agreements 603 (1953); III Green Haywood Hackworth, Digest of International Law 725-29 (1942); Borchard, supra note 4, at 44-48; William Edward Hall, International Law 211-12 (6th ed.1909); IV John Bassett Moore, A Digest of International Law 151-74 (1906).


. Kleindienst v. Mandel, 408 U.S. 753, 765, 92 S.Ct 2576, 33 L.Ed.2d 683 (1972) (quoting the Solicitor General's brief); see Fiallo v. Bell, 430 U.S. 787, 792, 97 S.Ct. 1473, 52 L.Ed.2d 50 (1977).


. We express no opinion on whether the Executive Branch may ignore the immigration laws and release petitioners into the United States without the consent of Congress.


. The Guantanamo Naval Base is not part of the sovereign territory of the United States. Congress so determined in the Detainee Treatment Act of 2005 § 1005(g), 119 Stat. 2743. The Immigration and Nationality Act, see 8 U.S.C. § 1101(a)(38), also does not treat Guantanamo as part of the United States. See also Vermilya-Brown Co. v. Connell, 335 U.S. 377, 380, 69 S.Ct. 140, 93 L.Ed. 76 (1948).


. Some have argued that the maxim is part of the due process guaranteed by the Constitution. See, e.g., Tracy A. Thomas, Ubi Jus, Ibi Remedium: The Fundamental Right to a Remedy Under Due Process, 41 San Diego L.Rev. 1633 (2004). If so, petitioners cannot take advantage of it, for reasons we have already given.


. "Questions, in their nature political, ... can never be made in this court.” Marbury v. Madison, 1 Cranch 137, 170, 2 L.Ed. 60 (1803).


. It would therefore be wrong to assert that, by ordering aliens paroled into the country in Zadvydas and Clark, the Court somehow undermined the plenary authority of the political branches over the entry and admission of aliens. The point is that Congress has set up the framework under which aliens may enter the United States. The Judiciary only possesses the power Congress gives it — to review Executive action taken within that framework. Since petitioners have not applied for admission, they are not entitled to invoke that judicial power.


. Petitioners observe that “the Executive has cited no decision in which a federal court has withheld a remedy from a civilian held in a military prison indefinitely, and without charge, when that civilian is within its jurisdiction and enjoys the constitutional privilege of habeas corpus.” Pet’rs’ Br. 38. But petitioners seek an extraordinary remedy. We therefore think it more significant that petitioners have cited no case in which a federal court ordered the Executive to bring an alien into the United States and to release him here, when the alien was held outside our sovereign territory and had not even applied for admission under the immigration laws.


. The government asserts that petitioners would not qualify for admission under the immigration laws. Gov’t Br. 27-29. They would need visas, 8 U.S.C. § 1182(a)(7)(A), (B), which they do not have, and a court could not order the Executive Branch to grant them visas. Saavedra Bruno, 197 F.3d at 1160. The government also suggests that petitioners are ineligible for another reason' — even though the United States was not their target, they allegedly engaged in "terrorist activity” within the meaning of 8 U.S.C. § 1182(a)(3)(B)(i)(I), which would mandate their removal under 8 U.S.C. § 1225(c)(1). Petitioners object that the evidence is insufficient to back up the government's claim. See Pet’rs’ Br. 28. The dispute cannot be resolved at this stage. Petitioners have not applied for admission pursuant to the immigration laws; the immigration authorities therefore have made no formal determination of their immigration status. See id. § 1225(a)(1). For the same reason, petitioners are not entitled to parole under 8 U.S.C. § 1182(d)(5)(A), a remedy that can be granted only to an applicant for admission and only in the exclusive discretion of the Secretary of Homeland Security.


. Some general classes of nonimmigrants are: career diplomats, 8 U.S.C. § 1101(a)(15)(A); temporary visitors for business or pleasure, id. § 1101(a)(15)(B); aliens in transit, id. § 1101 (a)( 15)(C); ship or airplane crew members, id. § 1101 (a)(l 5)(D); students, id. § 1101(a)(15)(F); temporary workers, id. § 1101(a)(15)(H); aliens with extraordinary abilities, id. § 1101 (a)(l5)(0); entertainers and athletes, id. § 1101(a)(15)(P); religious workers, id. § 1101(a)(15); and individuals coming to provide information on a terrorist organization or for a criminal investigation, id. § 1101 (a)( 15)(S).

